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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MARYLAND
                                 GREENBELT DIVISION

 In Re:                                            Case No. 19-23118

 Beverley Yvonne Downie                            Chapter 13

 Debtor.                                           Judge Lori S. Simpson

                                  CERTIFICATE OF SERVICE

I certify that on February 5, 2020, a copy of the foregoing Notice of Mortgage Payment Change
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/Parties may access this filing through the Court’s system:

          Bennie R. Brooks, Debtor’s Counsel
          bbrookslaw.aol.com

          Rebecca A. Herr, Chapter 13 Trustee
          ecf@ch13md.com

          Office of the United States Trustee
          (registeredaddress)@usdoj.gov

I further certify that on February 5, 2020, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Beverley Yvonne Downie, Debtor
          2049 Featherwood Street
          Silver Spring, MD 20904


 Dated: February 5, 2020                           /s/ D. Anthony Sottile
                                                   D. Anthony Sottile
                                                   Authorized Agent for Creditor
                                                   Sottile & Barile, LLC
                                                   394 Wards Corner Road, Suite 180
                                                   Loveland, OH 45140
                                                   Phone: 513.444.4100
                                                   Email: bankruptcy@sottileandbarile.com
